Case 2:11-cr-00058-RAJ-FBS Document 344 Filed 11/10/11 Page 1 of 9 PagelD# 1581
AO 245B (Rev. 12/03)(VAED rev. 2) Sheet 1 - Judgment in a Criminal Case

 

 

 

 

 

 

 

 

 

FILED
UNITED STATES DISTRICT COURT ant
Eastern District of Virginia Nov 10 2
Norfolk Division CLERK S- DISTRICT COURT
NORFOLK, VA
UNITED STATES OF AMERICA
Vv. Case Number: 2:11CR00058-008
DARREN ANTOINE POLLARD USM Number: 50610-083
a/k/a “Wimpy” Defendant's Attorney: John C. Gardner, Esquire

Defendant.

JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts | and 21 of the indictment.

Accordingly, the defendant is adjudged guilty of the following counts involving the indicated offenses.

Title and Section Nature of Offense Offense Class Offense Ended Count
T. 18 ULS.C. § 1962(c) R.LC.O Felony April 8, 2011 I
T. 18 U.S.C. § 924(c)(1)(A) and 2 Possession in Furtherance of a Violent Crime or Use — Felony Summer 2006 21

or Carry a Firearm in Relation to a Crime of

Violence

On motion of the United States, the Court dismissed the remaining counts in the indictment.

As pronounced on November 9, 2011, the defendant is sentenced as provided in pages 2 through 6 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change

of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material

changes in economic circumstances.

Signed this e 7 vai of November, 2011.
Raymond A. Jackson

United States District Judge
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Sheet 2 - Imprisonment

 

Case Number: 2:11CR00058-008
Defendant’s Name: POLLARD, DARREN ANTOINE

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of TWO HUNDRED FIFTY-TWO (252) MONTHS.

This term of imprisonment consists of a term of ONE HUNDRED SIXTY-EIGHT (168) MONTHS on Count 1 and a

term of EIGHTY-FOUR (84) MONTHS on Count 21, all to be served consecutively. This sentence is to run consecutive
to the 12 months imposed in the supervised release violation on Docket # 2:08cr57.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

RETURN

I have executed this judgment as follows:

Defendant delivered on to.

at , with a certified copy of this Judgment.
UNITED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL
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Sheet 3A — Supervised Release

 

Case Number: 2:11CR00058-008
Defendant’s Name: POLLARD, DARREN ANTOINE

SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS,

This term consists of a term of FIVE (5) YEARS on Count | and a term of FIVE (5) YEARS on Count 21, all to run
concurrently.

The Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions of
supervised release.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
periodic drug tests thereafter, as determined by the court.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay
any such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties
sheet of this judgment.

STANDARD CONDITIONS OF SUPERVISION

The defendant shall comply with the standard conditions that have been adopted by this court set forth below:

1) _ the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

3) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
administer any narcotic or other controlled substance or any paraphernalia related to such substances, except as
prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
person convicted of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer for a special agent of a law enforcement
agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.
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Sheet 3A — Supervised Release

 

Case Number: 2:11CR00058-008
Defendant’s Name: POLLARD, DARREN ANTOINE

SPECIAL CONDITIONS OF SUPERVISION

While on supervised release pursuant to this Judgment, the defendant shall also comply with the following additional
special conditions:

1) The defendant shall participate in a program approved by the United States Probation Office for substance abuse,
which program may include residential treatment and testing to determine whether the defendant has reverted to
the use of drugs or alcohol, with partial costs to be paid by the defendant, all as directed by the probation officer.

2) The defendant shall provide the probation officer access to any requested financial information.
3) The defendant shall pay for the support of his minor children in the amount ordered by any social service agency

or court of competent jurisdiction. In the absence of any such order, payments are to be made on a schedule to be
determined by the court at the inception of supervision, based on defendant’s financial circumstances.
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Sheet 5 - Criminal Monetary Penalties

 

Case Number: 2:11CRO0058-008
Defendant’s Name: POLLARD, DARREN ANTOINE

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

Count Assessment Fine Restitution

l $100.00 $0.00 $450.00

21 $100.00 $0.00 $0.00

TOTALS: $200.00 $0.00 $450.00
FINES

No fines have been imposed in this case.

RESTITUTION
SEE RESTITUTIONJUDGMENT ENTERED AND FILED ON NOVEMBER 9, 2011.

The Court determined that the defendant does not have the ability to pay interest and it is ordered that:
the interest requirement is waived for the restitution
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Sheet 6 - Schedule of Payments

 

Case Number: 2:11CR00058-008
Defendant’s Name: POLLARD, DARREN ANTOINE

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
The special assessment is due and payable immediately.

The restitution is due and payable immediately. Any balance remaining unpaid on the restitution at the inception of
supervision, shall be paid by the defendant in installments of not less than $50.00 per month, until paid in full. Said
payments shall commence 60 days after defendant's supervision begins.

The defendant is jointly and severally liable for restitution with the following co-defendants: Dearnta Lavon Thomas,
Jerrell IveyWoodley, Kiwanii Edward Mosley, Jamyia Rashad Brothers, Amaad Jamaal Brantley, Roderick Allen Cotton,
Jr., Darius Demarco Prayer, Tyrone Williams, Jr., Draindell Domonta Bassett, and Marcellous Cornelius Small, all of
docket no. 2:1 1cr00058.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Payments shall be applied in the following order: (1) assessment (2) restitution principal (3) restitution interest (4) fine
principal (5) fine interest (6) community restitution (7) penalties and (8) costs, including cost of prosecution and court
costs.

Nothing in the court's order shall prohibit the collection of any judgment, fine, or special assessment by the United States.
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FILED
IN OPEN COURT

 

IN THE UNITED STATES DISTRICT COURT
NOV -9 201

FOR THE EASTERN DISTRICT OF VIRGINIA

 

 

 

CLERK, U.S. DISTRICT COURT

 

 

 

Norfolk Division RESUS VA
)
UNITED STATES OF AMERICA )
Vv. Criminal No, 2:11CR058-08
DARREN ANTOINE POLLARD,
Defendant.
)

RESTITUTION ORDER
i The defendant is sentenced to pay restitution in the amount of $450.00.

2. The amount of restitution paid to a victim shall not exceed the victim’s total loss from the
offense(s) of conviction.

3, All payments shall be made to the Clerk of Court, United States District Court, 600
Granby Street, Norfolk, VA 23510-1811.

4. Shiela Gonzalez is the victim that suffered a financial loss in this case. Her address and
total loss amount is listed in Attachment A to this Restitution Order.

a Interest;

fs waived.

accrues as provided in 18 U.S.C. § 3612(f).

6. Restitution is due and payable immediately, and, notwithstanding any other provision of
this Restitution Order, the Government may enforce restitution at any time. The
defendant shall make a bona fide effort to pay restitution in full as soon as practical.

7. If incarcerated, the Court encourages the defendant to participate in the Bureau of
Prison’s Inmate Financial Responsibility Program, to comply with the provisions of the
financial plan, and to meet the defendant’s financial obligation, pursuant to 28 C.F.R. §
545.10-11.
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8. The defendant shall pay to the Clerk at least $_4 OX per month or percent
of net income, whichever is greater, beginning

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J” o 7 O
9. Within 30 days of (a) any change of name, residence, or mailing address; and (b) any
material change in economic circumstances that affects the ability to pay restitution, the

defendant shal! notify the Clerk of Court and the United States Attorney’s Office,
Financial Litigation Unit, 8000 World Trade Center, Norfolk, VA 23510.

10. No delinquent or default penalties will be imposed except upon Order of the Court.

 

Raymond A.Jackson
United States District Judge

Honorable Raymond A. Jackson
United States District Judge

 

ENTERED this g day of November, 2011.

at Norfolk, Virginia
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WE ASK FOR THIS:

Neil H. MacBride
United States Attorney

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William D. Muhr

Assistant United am Attorney
United States Attorney’s Office
101 West Main Street, Suite 8000
Norfolk, VA 23510

Telephone - 757-441-6331
Facsimile - 757-441-6689

E-Mail - Bill. Muhr@usdoj.gov

SEEN AND AGREED:

Darren Antoine Pollard
Defendant

 

John C, ees

Counsel fer Defendant
Gardner & Mendoza PC

2106 Thoroughgood Road
Virginia Beach, Virginia 23455
Telephone - 757-464-9224
Facsimile - 757-464-9225

E-Mail - jeg@gmlaw.net

Dare Pyvirrhs Pel lave!
